 Case 2:16-ap-01374-ER        Doc 137 Filed 10/15/19 Entered 10/15/19 17:45:36                 Desc
                                    Ruling Page 1 of 3




                            United States Bankruptcy Court
                             Central District of California
                                        Los Angeles
                                Judge Ernest Robles, Presiding
                                  Courtroom 1568 Calendar

Tuesday, October 15, 2019                                                    Hearing Room        1568

10:00 AM
2:16-13575 Liberty Asset Management Corporation                                          Chapter 11
Adv#: 2:16-01374   Official Unsecured Creditors Committee for Liberty v. Ho et al

   #28.00    Status conference re status of appeal

             fr. 7-9-19

                                  Docket       129

  Matter Notes:
      10/15/2019


      The tentative ruling will be the order.
      Court to prepare order.

      POST PDF OF TENTATIVE RULING TO CIAO
  Tentative Ruling:
      10/11/2019

      Trial in this adversary proceeding was initially set for May 29–30, 2018. On May 28,
      2018, Defendant Tsai Luan Ho a/k/a Shelby Ho ("Ho") (the only remaining defendant)
      filed a voluntary Chapter 7 petition in the United States Bankruptcy Court for the
      Northern District of California (the "Northern District Bankruptcy Court"). The Court
      took the trial off calendar. Based upon Plaintiff’s representation that it intended to
      pursue a non-dischargeability action against Ho in the Northern District Bankruptcy
      Court, the Court subsequently dismissed this action without prejudice.
          On July 20, 2018, Plaintiff filed a non-dischargeability action against Ho in the
      Northern District Bankruptcy Court (the "523 Action"). On August 23, 2018, the
      Chapter 7 Trustee in Ho’s bankruptcy case filed a § 727 complaint to deny Ho’s
      discharge (the "727 Action"). On April 9, 2019, the Northern District Bankruptcy
      Court entered judgment denying Ho’s discharge, pursuant to § 727(a)(3) (the
      "Judgment Denying Discharge"). On April 16, 2019, Ho appealed the Judgment
      Denying Discharge to the United States District Court for the Northern District of
      California (the "District Court"). On June 7, 2019, the Northern District Bankruptcy

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 Case 2:16-ap-01374-ER          Doc 137 Filed 10/15/19 Entered 10/15/19 17:45:36                    Desc
                                      Ruling Page 2 of 3




                              United States Bankruptcy Court
                               Central District of California
                                          Los Angeles
                                  Judge Ernest Robles, Presiding
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Tuesday, October 15, 2019                                                        Hearing Room         1568

10:00 AM
CONT...       Liberty Asset Management Corporation                                              Chapter 11
      Court denied Ho’s motion for a stay pending appeal of the Judgment Denying
      Discharge. Ho’s appeal of the Judgment Denying Discharge remains pending before
      the District Court. Proceedings in the 523 Action have been stayed pending resolution
      of the appeal of the Judgment Denying Discharge. On April 26, 2019, the Northern
      District Bankruptcy Court issued a minute order providing that the 523 Action "may
      be restored to the calendar after the District Court acts on the pending appeal" of the
      Judgment Denying Discharge.
           On July 9, 2019, the Court conducted a hearing on Plaintiff’s motion to reopen
      this adversary proceeding (the "Motion to Reopen"). Plaintiff sought an order
      reopening this proceeding and setting the matter for an immediate status conference in
      trial.
           The Court ruled that it would not set this matter for trial until the District Court
      had decided Ho’s appeal of the Judgment Denying Discharge. The Court reasoned:

              In the event that the District Court overturns the Judgment Denying Discharge,
              Plaintiff will be required to pursue the 523 Action to obtain a recovery against
              Ho. The 523 Action is based upon the same nucleus of operative facts as this
              action. The potential for duplicative litigation weighs against proceeding to
              trial at this time. In addition to wasting judicial resources, the additional costs
              resulting from a duplicative trial would decrease the recoveries available for
              distribution to creditors by the Plan Administrator.

       Ruling on Motion to Reopen [Doc. No. 135] at 4.
           The Court set this Status Conference to monitor the status of Ho’s appeal of the
       Judgment Denying Discharge. The appeal remains pending before the District Court
       (briefing was completed on October 9, 2019).
           A continued Status Conference to monitor the appeal shall be held on December
       10, 2019, at 10:00 a.m. A Status Report shall be submitted by no later than seven
       days prior to the hearing.
           The Court will prepare and enter an order setting the continued Status Conference.

           No appearance is required if submitting on the court’s tentative ruling. If you
       intend to submit on the tentative ruling, please contact Carlos Nevarez or Daniel
       Koontz at 213-894-1522. If you intend to contest the tentative ruling and appear,
       please first contact opposing counsel to inform them of your intention to do so.
       Should an opposing party file a late opposition or appear at the hearing, the court will


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                                    Ruling Page 3 of 3




                            United States Bankruptcy Court
                             Central District of California
                                        Los Angeles
                                Judge Ernest Robles, Presiding
                                  Courtroom 1568 Calendar

Tuesday, October 15, 2019                                                   Hearing Room     1568

10:00 AM
CONT...      Liberty Asset Management Corporation                                       Chapter 11
      determine whether further hearing is required. If you wish to make a telephonic
      appearance, contact Court Call at 888-882-6878, no later than one hour before the
      hearing.
                                      Party Information
  Debtor(s):
       Liberty Asset Management                   Represented By
                                                    David B Golubchik
                                                    Jeffrey S Kwong
                                                    John-Patrick M Fritz
                                                    Eve H Karasik
                                                    Sandford L. Frey
                                                    Raphael Cung
  Defendant(s):
       Tsai Luan Ho                               Represented By
                                                    James Andrew Hinds Jr
                                                    Paul R Shankman
                                                    Rachel M Sposato
       Benjamin Kirk                              Pro Se
  Plaintiff(s):
       Official Unsecured Creditors               Represented By
                                                    Jeremy V Richards
                                                    Gail S Greenwood
       Bradley D. Sharp                           Represented By
                                                    Gail S Greenwood




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